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COUNSEL FOR THE DEFENDANT

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 In re                              §
                                    §
                                                                         Chapter 11
 HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                    §
                                                                  Case No. 19-34054-sgj11
      Debtor.                       §
                                    §
                                    §
 HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                    §
      Plaintiff,                    §
                                    §
                                                                     Adv. No. 21-03005
 v.                                 §
                                    §
 NEXPOINT ADVISORS, L.P.            §
                                    §
      Defendant.                    §

                              CERTIFICATE OF NO OBJECTION

TO THE HONORABLE STACEY G. C. JERNIGAN, U.S. BANKRUPTCY JUDGE:

         The undersigned files this Certificate of No Objection in relation to the Defendant’s Motion

for Leave to Amend Answer (Dkt. No. 35, the “Motion”), stating as follows:

         1.     NexPoint Advisors, L.P. (“NexPoint”), the defendant in the above-captioned

adversary proceeding, caused the Motion to be filed on June 9, 2021.




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         2.        Under Local Rule 7007-1(e), the deadline to file any response in opposition was

twenty-one days later, or June 30, 2021.

         3.        This is to certify that, as of July 19, 2021, no objection to the Motion has been filed

on the docket of the adversary proceeding, and all potential objections have otherwise been

resolved.

         RESPECTFULLY SUBMITTED this 19th day of July, 2021.

                                                       MUNSCH HARDT KOPF & HARR, P.C.

                                                       By: /s/ Julian P. Vasek
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